
Per Curiam.
Appellant, Michael Eric Pierce, challenges the trial court's Final Judgment of Dissolution of Marriage. We reject his claims except his argument that the trial court failed to make the requisite factual determinations justifying the amount of child support awarded, as well as any arrears. Accordingly, we reverse and remand so that the trial court can make the appropriate factual findings relating to the trial court's calculation of the child support and arrears owed by Pierce. See Exter v. Diodonet-Molina , 152 So.3d 699, 701 (Fla. 3d DCA 2014) ; Aguirre v. Aguirre , 985 So.2d 1203, 1207 (Fla. 4th DCA 2008).
AFFIRMED in part, REVERSED in part, and REMANDED .
Lewis, Wetherell, and Winokur, JJ., concur.
